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 1                                                           JUDGE BENJAMIN H. SETTLE

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 3

 4

 5                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT TACOMA

 7
     UNITED STATES OF AMERICA,                     )      NO. CR08-5530BHS
 8                                                 )
                    Plaintiff,                     )
 9                                                 )      ORDER WAIVING INTEREST ON
                    vs.                            )      RESTITUTION
10                                                 )
     MICHAEL DAVID GILLEN,                         )
11                                                 )
                    Defendant.                     )
12                                                 )

13          Upon the stipulation of the parties to waive interest on the restitution amount

14 imposed in this matter,

15          NOW THEREFORE IT IS HEREBY ORDERED that the interest requirement on

16 the $35,654 restitution imposed in this matter on April 20, 2009, is hereby waived as it is

17 determined that the defendant does not have the ability to pay interest.
            DONE this 17th day of August, 2009.



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21                                                        BENJAMIN H. SETTLE
                                                          United States District Judge
22 Presented by:

23
   /s/ Linda R. Sullivan                                  /s/ Roger S. Rogoff
24
   Linda R. Sullivan                                      Roger S. Rogoff
25 Attorney for Defendant                                 Assistant United States Attorney

26

                                                                            FEDERAL PUBLIC DEFENDER
                                                                                       1331 Broadway , Suite 400
                                                                                     Tacoma, Washington 98402
     ORDER WAIVING INTEREST ON RESTITUTION     – page 1                                          (253) 593-6710
